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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION



MATSON NAVIGATION COMPANY,
INC., MATSON LOGISTICS, INC.,

                        Movant,

        v.                                            No.: 2:23-cv-00178

CMA CGM AMERICA LLC

                        Respondent.



              MOTION TO COMPEL COMPLIANCE WITH RULE 45 SUBPOENA

       PURSUANT TO RULE 45(d)(2)(B)(i), Defendants Matson Navigation Company, Inc.,

and Matson Logistics, Inc., move to compel non-party CMA CGM America LLC’s compliance

with Requests 3, 11, 16, 17, 19, 20, 21, 22, 23, 24, 25, 26, 28, 29, 30, 31, 34, 35, 37, and 38 of the

subpoena served on it in the matter American President Lines, LLC v. Matson, Inc., No. 1:21-cv-

020240-CRC (D.D.C.).        The grounds and reasons for granting this relief are stated with

particularity in the accompanying Memorandum of Law.

       A proposed Order is submitted herewith.
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Dated: April 28, 2023              Respectfully submitted

                                   /s/ Michael R. Dziuban

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                                   Inc. and Matson Logistics, Inc.




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